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Exhibit 55
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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
SAN FRANCISCO DIVISION

IN RE: CATHODE RAY TUBE (CRT)
ANTITRUST LITIGATION

No. O07-cv-05944 SC
MDL No. 1917

This Document Relates to:
... (continuing caption page 2)

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SUPERIOR COURT OF THE STATE OF CALIFORNIA
CITY AND COUNTY OF SAN FRANCISCO

STATE OF CALIFORNIA, et al.,

Plaintiffs,

SAMSUNG SDI, INC., CO., LTD,
et al., .

Defendants.

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HIGHLY CONFIDENTIAL
DEPOSITION OF LG ELECTRONICS
YUN SEOK LEE
San Francisco, California
Wednesday, July 11, 2012
Volume I

Reported by:
SUZANNE F. BOSCHETTI
CSR No. 5111

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No. CGC-11-515784

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itself.

Q Well, when you say additional promotion,
what do you mean by that?

A We were able to provide that promotion in
the form of sort of a volume rebate, so if the
customer were to purchase more, then the sales VP
was able to provide a small range of discounts like
one percent.

Q All right. But this -- this would have to
be approved by the vice president of sales?

MR. MUDGEE: Object to the form.
THE WITNESS: Yes.
BY MR. SPECKS:

Q Was there a schedule of volume rebates that
was used internally by the -- by the vice president
of sales?

A About that I cannot quite recall. From
what I heard verbally, there was a limit of
one percent rebate to operation budget out of the
entire sales amount annually where sales VP can
operate rebate.

Q All right. And how were -- how were
these -- how were rebates paid? Were they paid
quarterly, annually? How were they paid?

A No. If we were to receive the request,

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